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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  BRITNEY TAYLOR,
                                                            Case No.
                           Plaintiff,
                                                            CIVIL COMPLAINT
             vs.
                                                            DEMAND FOR JURY TRIAL
  ANTONIO BROWN,

                           Defendant.



        Plaintiff Britney Taylor, by and through her attorneys Haas Law, PLLC, Emery Celli

 Brinckerhoff & Abady LLP, and The Law Offices of Marshelle I. Brooks, PLLC, alleges as

 follows for her Complaint:

                                          INTRODUCTION

        1.         This case is about how Antonio Brown – a highly successful wide receiver in the

 National Football League (“NFL”) – exploited, sexually assaulted, and raped his former trainer

 Britney Taylor. Brown preyed on Ms. Taylor’s kindness and her religious devotion, casting

 himself as a person equally dedicated to his religious faith and someone she could trust. In reality,

 he used manipulation and false promises to lure her into his world, and once there, he sexually

 assaulted and raped her. These heinous acts have inflicted severe and dramatic damage on Ms.

 Taylor, irreparably harming her.

        2.         In June 2017, Brown sexually assaulted Ms. Taylor twice while they were together

 for training sessions. First, Brown exposed himself and kissed Ms. Taylor without her consent.

 Later that month, Brown, while positioned behind Ms. Taylor, began masturbating near her

 without her knowledge and ejaculated on her back. Ms. Taylor realized what occurred when she



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 felt a wet spot soak through her clothing. Later, in astonishingly profane and angry text messages,

 Brown bragged about the incident to her.

        3.      Shocked and deeply embarrassed by this assault and his degrading messages, Ms.

 Taylor cut off her working relationship with Brown.

        4.      However, several months later, Brown reached out to Ms. Taylor, expressing

 contrition, begging forgiveness and pleading with her to train him again. Ms. Taylor was hesitant

 but eventually agreed, swayed by his assurance that he would cease any sexual advances.

        5.       Brown’s assurances proved false.

        6.      On May 20, 2018, Brown cornered Ms. Taylor, forced her down onto a bed, pushed

 her face into the mattress, and forcibly raped her. Ms. Taylor tried to resist him, but Brown was

 too strong and physically overpowered her. She screamed and cried throughout the entire rape,

 repeatedly shouting “no” and “stop.” Brown refused and penetrated her.

        7.      Brown’s assaults and rape have severely traumatized Ms. Taylor. Ms. Taylor has

 suffered near-daily panic attacks and suicidal ideations.

        8.      Ms. Taylor brings this action to recover compensatory and punitive damages for

 the significant harm Brown caused by this brutal and sadistic misconduct.

                                             PARTIES

        9.      Plaintiff Britney Taylor is a resident of Shelby County, Tennessee.

        10.     Defendant Antonio Brown is a resident of Miami-Dade County, Florida.

                                 JURISDICTION AND VENUE

        11.     This Court has original jurisdiction under 29 U.S.C. § 1332 because there is

 diversity between the parties, and the amount in controversy exceeds $75,000.




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         12.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because the

 events giving rise to the claims occurred here.

                                            JURY DEMAND

         13.      Plaintiff demands a trial by jury in this action.

                                                 FACTS

         14.      Britney Taylor is a 28-year-old, world-class gymnast, who was born and raised in

 Memphis, Tennessee. She comes from a highly religious and close-knit family.

         15.      Ms. Taylor started gymnastics when she was only three years old and soon became

 recognized as an athlete with exceptional abilities, discipline and dedication. In high school, she

 trained twice a day for a total of 40 hours per week, in addition to her course work. She reached

 “Elite” level, meaning she was eligible to compete for international competitions like the

 Olympics. She received 14 full college scholarship offers from schools with some of the best

 athletic programs in the country. This year, she will be inducted into the inaugural Tennessee

 Gymnastics Hall of Fame.

         16.      She succeeded in the sport even though she often worked with unsupportive and

 verbally abusive coaches and was almost always the lone African-American gymnast on her team

 and at meets.

    I.         Ms. Taylor Meets Brown at Central Michigan University

         17.      In 2010, Ms. Taylor started her freshman year at Central Michigan University.

         18.      Ms. Taylor joined the college’s Fellowship of Christian Athletes group. During her

 first meeting, she was paired with Antonio Brown as his bible study partner.

         19.      Brown was well-known on campus and the football team’s star wide receiver.




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          20.      A year later, Brown went to play in the NFL, becoming one of the most successful

 wide receivers in the league. Ms. Taylor transferred to Louisiana State University (“LSU”), but

 they remained in touch.

          21.      In approximately 2013, Ms. Taylor’s senior year at LSU, Brown sent her a message

 on social media, asking for a picture of her. Ms. Taylor sent him a picture of her face. Dissatisfied,

 Brown asked for a more revealing one. Ms. Taylor refused, reminding Brown that they were just

 friends.

          22.      For approximately four years after Ms. Taylor graduated from LSU, the two fell

 out of touch.

          23.      During that time, Ms. Taylor pursued her lifelong dream of opening a gymnastics

 training center for predominantly African-American girls in her hometown of Memphis. She

 wanted to create a safe and supportive environment for young girls of color to thrive in the sport

 of gymnastics – something that was often missing for her when she was a young girl.

          24.      Ms. Taylor opened her training center in 2016. Her business grew quickly because

 of her knowledge of gymnastics and her devotion to her students. She even covered the cost of

 tuition for several students whose families were unable to afford it. After less than a year, she was

 training approximately 50 students and had another 200 students on her waiting list.

    II.         Brown Reconnects with Ms. Taylor

          25.      In June 2017, Brown reached out to Ms. Taylor via Facebook asking her how she

 was doing.

          26.      Ms. Taylor responded that she was doing well and enthusiastically described the

 development of and plans for her gym.




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           27.      During the course of this renewed contact, Brown indicated he wanted Ms. Taylor’s

 help improving flexibility and strength in his ankles and fast twitch muscles – areas in which she

 had developed expertise through gymnastics.

           28.      As a result, the two agreed that Ms. Taylor would provide physical training services

 to Brown.

           29.      The arrangement between them included Ms. Taylor flying to locations in

 Pittsburgh and Florida where Brown had homes and where he trained.

           30.      Ms. Taylor never dated or had an interest in any romantic relationship with Brown.

 Their relationship, as far as Ms. Taylor believed and behaved, was that of a ‘brother-sister’ type.

    III.         Brown Engages in Inappropriate Behavior and Sexualized Misconduct

           31.      During a training trip in early June 2017, Ms. Taylor was in one of Brown’s homes

 in the Pittsburgh area, where she was staying because he had not booked her a hotel room. She

 was getting dressed in an upstairs bathroom when Brown walked in with his penis exposed. She

 immediately covered her eyes with her hands and walked out of the bathroom.

           32.      Brown then grabbed and kissed her without her consent. Ms. Taylor pushed him

 away and immediately left the room.

           33.      Brown’s actions made Ms. Taylor extremely uncomfortable. She was in a long-term

 and serious relationship with another man and had no interest in a sexual relationship with Brown.

           34.      But, because her professional relationship with Brown was important and because

 she took it seriously, Ms. Taylor willed herself to brush off the episode, hoping that Brown would

 stop pursuing her.

           35.      In late June 2017, however, during another training visit, Brown and Ms. Taylor

 were watching a church service on Ms. Taylor’s iPad in Brown’s home in Miami, Florida. As they



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 had during their college Christian fellowship days, they often read scriptures, prayed or watched

 services together during training visits. On this occasion, Brown was behind Ms. Taylor as they

 watched the service on her tablet. Unbeknownst to Ms. Taylor, while she was focused on the

 religious video, Brown began masturbating behind her. Before she knew it or understood what was

 happening, Brown ejaculated on her.

        36.     Specifically, Ms. Taylor felt a wet spot on her back and then suddenly realized what

 had happened. Thoroughly disgusted, Ms. Taylor exclaimed, “Ewww!” Brown, unfazed by her

 reaction, jokingly responded, “oh ‘B’…you know, I’m sorry” and then left the room.

        37.     Ms. Taylor was dismayed, confused and embarrassed. She called her mother, who

 advised her to immediately leave.

        38.     She also confided in Brown’s chef, whom she had befriended, about what happened

 and stated that she would not be returning to work for Brown. Shortly thereafter, she received a

 text message from Brown telling her she was fired.

        39.     Brown also bragged in a preserved text message about masturbating on her, stating

 that he “jack [sic] [his] dick on [her] back” and that he was going to laugh with one of their mutual

 friends from college about it.




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           40.      He further demeaned her in repeated text messages, calling her a “weak bitch” and

 “dum [sic] ass hoe [sic].”

           41.      Ms. Taylor cut off all contact with Brown as a result.

     IV.         Brown Convinces Ms. Taylor to Resume Training Him

           42.      In February 2018, Brown sent Ms. Taylor a message thanking her for help in the

 off-season and stating that he would love to continue working with her under the “right

 circumstance[s].” He also mentioned that unlike many of the other people that surrounded him,

 she had “a great heart and . . . cared” about him.

           43.      Ms. Taylor did not respond to his message.

           44.      Then, in early March 2018, Brown sent Ms. Taylor another message asking her if

 she hated him now. He went on to say: “I apologize first off with so much going on around me and

 my actions.” He asked for her to train him again, assuring her that things would be different.

           45.      Ms. Taylor agreed, but on the condition, which is reflected in writing, that Brown

 stop flirting with her anymore. She also required that he provide her hotel accommodations for

 each trip.

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          46.      In approximately April 2018, Ms. Taylor returned to working during off-season

 weekends for Brown.

          47.      His life, at this point, was in apparent chaos. Many of the people who worked with

 him previously had quit, including his chef and another trainer. They could no longer take Brown’s

 mistreatment and troubling behavior.1

          48.      He was also having trouble balancing the responsibilities he had arising out of his

 many endorsement deals, including with Campbell’s Soup, Nike, Pepsi, Pizza Hut,

 AT&T/DirecTV, and Rite Aid, among others. He showed up late to events he was required to

 attend for those sponsors or otherwise failed to hold up his contractual obligations.

          49.      In the wake of staff defections and the chaos surrounding him, Brown often relied

 on Ms. Taylor to take care of his administrative needs when she was there with him on weekends.

 She was tasked with booking flights for him, keeping his travel schedule, making sure he arrived

 at sponsored events on time, and even babysitting his children.

     V.         Brown’s Aggression Escalates to Rape

          50.      On approximately May 20, 2018, Brown invited Ms. Taylor, another football player

 who trained with them, and a few friends for a night out while they were in Miami.

          51.      The group went to a club.

          52.      Ms. Taylor, Brown, and the other known football player left the club together in

 Ms. Taylor’s rental car. She drove the two men back to Brown’s home, where they were staying.




 1
   Brown is no stranger to controversy. Many incidents involving him have been widely reported in the press. He has
 been accused of throwing objects off a balcony in a rage, nearly striking a toddler. He engaged in a public spat with
 the mother of one of his children, and he was recently accused by the mother of another one of his children of
 physical assault. Further, conflicts and arguments with NFL officials, reporters, and teammates have been
 commonplace.



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        53.       Ms. Taylor was planning to immediately drive to her hotel room but went into

 Brown’s home to use the restroom and grab some food from the kitchen. While Ms. Taylor was

 walking toward the front door, Brown grabbed her arm, told her he wanted to talk to her, and

 pulled her into his bedroom.

        54.       They chatted for a few minutes, and when Ms. Taylor went to walk out of the room,

 Brown cornered her and pulled her down on the bed on her stomach, pushing her face down into

 the mattress.

        55.       She attempted to physically resist, but he pinned her down so that she was unable

 to fight back.

        56.       As she struggled, he lifted her dress and told her, “you know you want this.”

        57.       Ms. Taylor pleaded with him, shouting “no” and “stop.” But Brown refused and

 proceeded with great violence to penetrate her.

        58.       Ms. Taylor protested and cried the entire time.

        59.       When Brown finally released her, Ms. Taylor stood up in a state of trauma and

 shock, crying in front of him.

        60.       Devastated and disoriented, she ran into his foyer and collapsed on the ground. No

 one came to her rescue or to help her in any way. She was completely alone. Eventually she

 summoned the strength to pick herself off the floor, make it to the door, get into her car and drive—

 dazed and emotionally shattered—to her hotel. She was so exhausted that she fell asleep at a

 stoplight on the drive back.

        61.       The next day, Ms. Taylor had to return to Brown’s home to retrieve personal

 belongings before flying back to Memphis.




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           62.      She courageously approached Brown, telling him that they “needed to talk about

  last night.” He replied, “You made me feel like a real rapist.”

           63.      Ms. Taylor left Brown’s Miami home.

           64.      Although she had to return to Brown’s Miami home to retrieve some personal

  belongings, she ceased working for Brown thereafter.

     VI.         Brown’s Actions Have Severely Traumatized Ms. Taylor

            65.     In the days after the rape, Ms. Taylor feared she could have become pregnant or

  could have contracted a sexually transmitted disease (“STD”) from Brown. Specifically, on June

  13, 2018 and July 1, 2018, she purchased a home pregnancy test and an STD test kit from

  Walgreens.

            66.     For months after the rape, Ms. Taylor did her best to put what happened out of her

  mind. As is typical with many victims of rape, she made attempts to live her life as if nothing

  happened.

            67.     Those attempts to compartmentalize, deny and normalize her life proved

  unsustainable.

            68.     After several months, the shock, disbelief and denial gave way to overwhelming

  bouts of anxiety, and Ms. Taylor fell into a deep depression. She has had near-daily panic attacks,

  frequent suicidal ideations, and insomnia. She has also lost a remarkable amount of weight – 30

  pounds in one month – due to stress. It has been extremely difficult for her to process that Brown

  could betray and violate her so completely. Brown devastated her sense of self, made her question

  her worth as a woman and human being, and caused her to question whom she could trust.




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           69.   On January 6, 2019, before seeking legal counsel, Ms. Taylor reached out to

  #TimesUpNow about the rape. While she does not know if her message was ever received by the

  organization, she described the rape without naming her assailant.

           70.   In all, Brown has caused serious and extreme damage to Ms. Taylor – harm that

  impacts all aspect of her life, both personally and professionally. She will bear the scars of what

  Brown did to her for the rest of her life and she will never be the same.

           71.   The trauma has made it extremely difficult for Ms. Taylor to maintain her

  responsibilities at her gym. She knows that she is a role model for the 50 young girls that she trains.

  She knows that that they rely on her and that they look up to her. But since this the rape, she has

  substantial difficulty even going to work.

           72.   The assault also has had a profound and negative impact on her personal life. Her

  long-term boyfriend, whom she had been dating on and off ever since high school, proposed to her

  less than two weeks after she was raped by Brown. What should have been one of the most exciting

  times in her life has been completely derailed and complicated. It took her months to tell her fiancé

  what occurred, and that disclosure put a serious strain on their relationship.

           73.   As a result of the difficulties in the relationship with her fiancé and the extreme

  emotional difficulties she was having in the wake of the rape, Ms. Taylor turned to her religion

  and sought guidance with a leader at her church. As it turned out, the leader was a former Assistant

  District Attorney (“ADA”) and Sex Crimes Prosecutor who had worked for many years in New

  York. This former ADA, now turned religious leader, immediately recognized the signs of trauma

  Ms. Taylor was experiencing because of the sexual assault, and recommended she enter intensive

  therapy and retain legal counsel.




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               74.   Since that time, Ms. Taylor has taken a polygraph examination. It was conducted

  by one of the nation’s leading examiners, who previously led the FBI’s polygraph program. Ms.

  Taylor had to relive the trauma of these events through this examination. The polygraph

  examination confirmed her completely truthful account that, in June 2017, Brown ejaculated on

  her without her consent and that, in May 2018, that Brown raped her.

                                        FIRST CAUSE OF ACTION
                                           Sexual Battery (Rape)

          75.        Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.

          76.        Defendant Brown had sexual intercourse with Plaintiff.

          77.        That act was done without the consent of Plaintiff.

          78.        As a result of Defendant’s acts, Plaintiff has been damaged and brings these civil

  claims for the physical, emotional and psychological injuries she suffered.

          79.        Defendant’s acts were intentional, done with malice, and/or showed a deliberate,

  willful, wanton, and reckless indifference to Plaintiff’s rights, for which she is entitled to an award

  of punitive damages.

                                      SECOND CAUSE OF ACTION
                                              Battery
          80.        Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.

          81.        By intentionally ejaculating on Plaintiff without her consent as described above,

  Defendant committed a battery.

          82.        By kissing Plaintiff without her consent as described above, Defendant committed

  a battery.

          83.        As a result of Defendant’s acts, Plaintiff has been damaged and brings these civil

  claims for the physical, emotional and psychological injuries she suffered.




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         84.     Defendant’s acts were intentional, done with malice, and/or showed a deliberate,

  willful, wanton, and reckless indifference to Plaintiff’s rights, for which she is entitled to an award

  of punitive damages.

                                    THIRD CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress

         85.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.

         86.     As described above, Defendant Brown’s conduct of sexually assaulting and raping

  Plaintiff was outrageous and caused Plaintiff to suffer severe emotional and psychological harm.

         87.     Defendant’s acts were intentional, done with malice, and/or showed a deliberate,

  willful, wanton, and reckless indifference to Plaintiff’s rights, for which she is entitled to an award

  of punitive damages.

                                   FOURTH CAUSE OF ACTION
                                       False Imprisonment

         88.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.

         89.     By restraining Plaintiff in his bedroom and preventing her from leaving against her

  will, Defendant Brown falsely imprisoned Plaintiff.

         90.     As a result of Defendant’s acts, Plaintiff has been damaged and brings these civil

  claims for the physical, emotional and psychological injuries she suffered.

         91.     Defendant’s acts were intentional, done with malice, and/or showed a deliberate,

  willful, wanton, and reckless indifference to Plaintiff’s rights, for which she is entitled to an award

  of punitive damages.

                                    FIFTH CAUSE OF ACTION
                                        Invasion of Privacy

         92.     Plaintiff repeats and realleges the above paragraphs as if fully set forth herein.




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         93.     Defendant’s unwanted and offensive sexual contact with Plaintiff was an invasion

  of her physical solitude and privacy.

         94.     As a result of Defendant’s acts, Plaintiff has been damaged and brings these civil

  claims for the physical, emotional and psychological injuries she suffered.

         95.     Defendant’s acts were intentional, done with malice, and/or showed a deliberate,

  willful, wanton, and reckless indifference to Plaintiff’s rights, for which she is entitled to an award

  of punitive damages.

                                       PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff respectfully requests that the Court grant her the relief

  requested as follows:

                 A.       An award of damages to be determined at trial to compensate Plaintiff for

  all non-monetary and compensatory harm, including, but not limited to, compensation for her

  physical injuries, pain and suffering, humiliation, embarrassment, stress and anxiety, loss of self-

  esteem and self-confidence, and emotional pain and suffering;

                 B.       An award of punitive damages, in an amount to be determined at trial,

  sufficient to deter Defendant from engaging in future illegal and/or wrongful conduct;

                 C.       Such other and further relief as the Court may deem just and proper.




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  Dated: September 10, 2019                 Respectfully submitted,

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